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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

 v.

 TANMAYA KABRA,

        Defendant.                                Criminal Action No. 1:19-MJ-2257-MBB


                     DEFENDANT’S ASSENTED TO MOTION FOR
                     DETERMINATION ON DETENTION HEARING

       On August 7, 2019, this Court held an evidentiary hearing on the Government’s motion to

detain Mr. Kabra pending trial pursuant to 18 U.S.C. § 3142(f)(2)(A).

       In connection with that hearing, the United States Probation Offices’ Pre-Trial Services

Division submitted a report which recommended release of the defendant pending trial.

Specifically, the report recommended release with a Surety Bond on the following conditions:

          1. Mr. Kabra would be required report to pre-trial services offices as directed;

          2. Refrain from the use of controlled substances;

          3. Submit to testing for the use of controlled substances as directed;

          4. Refrain from tampering with whatever method substance abuse testing is required;

          5. Restrict travel to the District of Massachusetts.

          6. Surrender his passport;

          7. Refrain from obtaining an additional passport or other travel document(s);

          8. Refrain from obtaining employment that involved fiduciary responsibilities;

          9. Report all contact with law enforcement within 24 hours of said contact; and

          10. Maintain current residence and not move without prior permission.
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       The Court took the government’s motion under advisement on August 7, 2019. To date,

there has been no decision on the motion.

       As the pre-trial report indicated Mr. Kabra is not a risk of danger to the community and

his risk of flight can be mitigated through the above conditions. Equally important, Mr. Kabra is

a twenty-five-year-old, with no criminal record, that has now been incarcerated in general

population at the Plymouth County Correctional Facility for 16 days. His family remains

extremely concerned for his safety.

       WHEREFORE, Defendant Tanmaya Kabra respectfully requests that this Court promptly

render a decision on the government’s pending detention motion.


   Dated: August 20, 2019


                                                    RESPECTFULLY SUBMITTED:
                                                    TANMAYA KABRA,

                                                    By his attorney:

                                                    /s/ Mark A. Berthiaume
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                          LOCAL RULE 7.1(A)(2) CERTIFICATE

        I, Mark A. Berthiaume, hereby certify that on August 20, 2019, I conferred with opposing
counsel via phone and email and attempted in good faith to resolve or narrow the issue presented
in the above motion. The government does not object to the request for a determination of the
pending motions concerning detention.

                                                     /s/ Mark A. Berthiaume



                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed August 20, 2019, through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
and paper copies will be sent to those indicted as non-registered participants.

                                                     /s/ Mark A. Berthiaume
                                                     Mark A. Berthiaume
